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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
VS. : CRIMINAL NO. 20-CR-210

MICHAEL “OZZIE” MYERS”

MOTION FOR DISMISSAL OF COUNTS THREE, FOUR, FIVE, SEVEN
AND EIGHT OF THE INDICTMENT

TO THE HONORABLE, THE JUDGE OF THE SAID COURT:

Defendant, Michael “Ozzie” Myers, by and through co-counsel, Noah Gorson and
Arnold Silverstein (“counsel”), file the forgoing motion for dismissal of counts three, five
and eight of the above filed Indictment, and in support of this motion state:

1. On or about July 21, 2020, Defendant was charged in an eight count
Indictment with violations of 18 U.S.C. § 241 (conspiracy to deprive persons of civil rights),
92U.5.C. § 10307(c) (conspiring to illegally vote in federal election) and related charges all
stemming from elections held in Philadelphia from in or about April 2014 to June 2016.

2, Count three of the Indictment charges Defendant with violating 18 U.S.C. §
1519 and 18 U.S.C. § 2, for allegedly adding votes on two voting machines on May 19, 2015.

3, Count four of the Indictment charges Defendant with violating 18 U.S.C. §
1952(a)(3), known as the Travel Act, and 18 U.S.C. § 2, for allegedly engaging in conduct
more specifically set forth in the Indictment.

4. Count five of the Indictment charges Defendant with violating 18 U.S.C. §
1519 and 18 U.S.C. § 2, for allegedly concealing, covering up, and making false entries in
documents and records, specifically, the result receipts from two voting machines on or
about April 26, 2016 for votes cast during a primary election.

 
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5. Count seven of the Indictment charges Defendant with violating 52 U.S.C. §
10307(c) and 18 U.S.C. § 2, for allegedly voting more than once in a primary election held
for selecting a candidate for office of member of the Units States House of Representatives.

6. Count eight of the Indictment charges Defendant with violating 18 U.S.C. §
1512(b)(3) and 18 U.S.C. § 2, for allegedly providing a check drawn on the campaign of one
of defendant’s candidate clients and making said check payable to the spouse his
coconspirator, Dominick Demuzto, and later falsely characterizing said check as a “get out
the vote” effort.

7. As set forth in the memorandum of law being filed contemporaneously
herewith, counts thtee, five and eight of the Indictment should be dismissed as insufficient
evidence was presented to the charging Grand Jury to meet the elements of the charges set
forth therein.

WHEREFORE Defendant tequests that Counts Three, Four, Five, Seven and
Hight of the Indictment be dismissed.

RESPECTFULLY SUBMITTED:

By: _/s/ Noab Gorson
NOAH GORSON, Esquire
ATTORNEY FOR DEFENDANT

By: _/s/ Arnold Silverstein
ARNOLD SILVERSTEIN, ESQuire
ATTORNEY FOR DEFENDANT

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
VS, : CRIMINAL NO. 20-CR-210

MICHAEL “OZZIE” MYERS”

MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR DISMISSAL
OF COUNTS THREE, FOUR, FIVE, SEVEN AND EIGHT OF THE
INDICTMENT

TO THE HONORABLE, THE JUDGE OF THE SAID COURT:

Defendant, Michael “Ozzie” Myers, by and through co-counsel, Noah Gorson and
Arnold Silverstein (“counsel”), file the forgoing Memorandum of law in support of his

motion for dismissal of counts three, five and eight of the above filed Indictment.

THE INDICTMENT

On ot about July 21, 2020, Defendant was charged in an eight count Indictment with
violations of 18 U.S.C. § 241 (conspitacy to deprive persons of civil rights), 52U.S.C. §
10307 (c) (conspiting to illegally vote in federal election) and related charges all stemming
from elections held in Philadelphia from in or about April 2014 to June 2016 (the
“Indictment”). Essentially, the Government alleges that Defendant, a political consultant in
Philadelphia, conspired with Domenick J. Demuro (“Demuro”), a Judge of Elections for
Philadelphia’s 39 Ward 36" Division. On Match 3, 2020, Demuto was charged in a two-

count Information with conspiring to violate civil rights and violating the Travel Act for

 
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activities in his capacity as a Judge of Elections. On May 21, 2020, Demuro pleaded guilty to
the charges inthe Information pursuant to a Plea Agreement in which he agreed to
cooperate with the Government. The Indictment

Count three of the Indictment charges Defendant with violating 18 U.S.C. § 1519
and 18 U.S.C. § 2, for allegedly adding votes on two voting machines on May 19, 2015.

Count four of the Indictment charges Defendant with violating 18 U.S.C. §
1552(a)(3), known as the Travel Act, and 18 U.S.C. § 2 for allegedly engaging in conduct
more specifically set forth in the Indictment.

Count five of the Indictment charges Defendant with violating 18 U.S.C. § 1519 and
18 U.S.C. § 2, for allegedly concealing, covering up, and making false entries in documents
and records, specifically, the result receipts from two voting machines on or about April 26,
2016 for votes cast during a primary election.

Count seven of the Indictment charges Defendant with violating 52 US.C. §
10307{c) and 18 US.C. § 2, for allegedly voting more than once in a primary election held
for selecting a candidate for office of member of the Units States House of Representatives.

Count eight of the Indictment charges Defendant with violating 18 U.S.C. §

- 1512(b)(3) and 18 US.C. § 2, for allegedly providing a check drawn on the campaign of one
of defendant’s candidate clients and making said check payable to the spouse his
coconspirator, Dominick: Demuro, and later falsely characterizing said check as a “get out

the vote” effort.

COUNT THREE

In order to prove violation of 18 U.S.C. § 1519 and 18 U.S.C. § 2, the
Government must show that defendant (1) knowingly committed enumerated act in statute,
such as destroying or concealing; (2) towards “any record, document, or tangible object”; (3)
with intent to obstruct actual or contemplated investigation by United States of matter
within its jurisdiction. United States v. Katakis, 800 F.3d 1017, 2015 U.S. App, LEXIS
15340 (9th Cir. 2015). § Section 1519 requires that the defendant act knowingly. A
defendant "is said to act knowingly if he is aware ‘that that result is practically
cettain to follow from his conduct, whatever his desire may be as to that
result.'" United States v. Bailey, 444 U.S, 394, 404, 100 S. Ct. 624, 62 L. Ed. 2d 575
(1980) (quoting United States v. U.S. Gypsum Co. 438 U.S. 422, 445, 98 S. Ct. 2864, 57

 
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L, Ed. 2d 854 (1978)), "[F]he term 'knowingly' metely requires proof of knowledge of
the facts that constitute the offense." Bryan v. United States, 524 U.S. 184, 193, 118 §.
Ct. 1939, 141 L, Ed, 2d 197 (1998)

Count Three alleges in 2015 Demuro added 40 votes to the vote totals. Count three
must be dismissed because there is no evidence of any attempt to conceal or destroy any
record, document, or tangible object. The addition of 40 votes cannot in anyway be
interpreted as attempt to conceal or destroy any record, In addition, this count must be
dismissed because it fails to allege Defendant knew, should have known or contemplated an

investigation. For this reason, count three of the Indictment must be dismissed or stricken.

COUNT FOUR
The Travel Act, in pertinent part provides:

“a) Whoever travels in interstate or foreign commerce or uses the mail or any facility
in interstate or foreign commerce, with intent to--

(1) distribute the proceeds of any unlawful activity; or
(2) commit any crime of violence to further any unlawful activity; or

(3) otherwise promote, manage, establish, carry on, or facilitate the promotion,
management, establishment, or carrying on, of any unlawful activity,

and thereafter performs or attempts to perform--

(A) an act described in paragraph (1) or (3) shall be fined under this title,
imprisoned not more than 5 years, or both; or

(B) an act described in paragraph (2) shall be fined under this title, imprisoned for
not more than 20 years, or both, and if death results shall be imprisoned for any term of
years or for life.

(b) As used in this section () “unlawful activity” means (1) any business enterprise
involving gambling, liquor on which the Federal excise tax has not been paid, narcotics or
controlled substances (as defined in section 102(6) of the Controlled Substances Act), or
prostitution offenses in violation of the laws of the State in which they are committed or of
the United States, (2) extortion, bribery, or arson in violation of the laws of the State in
which committed or of the United States, or (3) any act which is indictable under subchapter
II of chapter 53 of title 31, United States Code, or under section 1956 or 1957 of this title
and (ii) the term “State” includes a State of the United States, the District of Columbia, and
any commonwealth, territory, or possession of the United States.”

 
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Defendant moves to dismiss the indictment because the Government fails to allege
in the indictment that the Defendant used the phone across state lines.

Though the Defendant recognizes the majority of the circuits do not require
interstate phone use, but find a phone is an interstate facility and intrastate call is sufficient.
Defendant believes the minority position which requires an interstate phone call as an
element of the charge is the correct decision.

In 18 USC 1952 the statute states “uses the mail or any facility in
interstate or foreign commerce.” Defendant submits the wording of the statute means the
facility must be used in interstate commerce’. If the Court adopts the defense position the
indictment must be dismissed as it does not set out the necessary interstate calls required by
18 USC 1952.

For the above reasons count four of the Indictment must be dismissed.

COUNT FIVE

In order to prove a violation of 18 USC 1519 and 18 USC 2. , Government must
show that defendant (1) knowingly committed enumerated act in statute, such as destroying
or concealing; (2) towards “any record, document, or tangible object”; (3) with intent to

obstruct actual or contemplated investigation by United States of matter within its

jurisdiction, United States vy. Katakis, 800 F.3d 1017, 2015 U.S. App. LEXTS 15340 (9th
Cir, 2015).

There is no evidence that at the time the machine was allegedly tampered with
Defendant knew of an actual investigation or that an investigation was being contemplated;
scienter of an investigation is an essential element of the charge of 18 USC 1519. For this

reason, count five of the Indictment must be dismissed.

 

! Defendant is aware that most jurisdiction hold that a phone fs a facility of interstate commerce and that
there is no requirement that any phone call be made interstate under the relevant statute.

 
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COUNT SEVEN

In order to prove a violation of 52 U.S.C. § 10307(c) and 18 US.C. § 2, the
Government must show that:

Detendant “knowingly or willfully gives false information as to his name, address or
period of residence in the voting district for the purpose of establishing his eligibility to
register or vote, or conspires with another individual for the purpose of encouraging his false
registration to vote or illegal voting, or pays or offers to pay or accepts payment either for
registration to vote or for voting .. “

The Indictment alleges that on or about April 26, 2016, Demuro, and others, “added
46 fraudulent ballots during the primary election’. The fraudulent ballots, allegedly, were
added by Demuro by manipulating the voting machines and then submitting receipts from
same that did not match the logs of the actual voters that signed to vote. No evidence was
submitted to the Grand Jury that Defendant directly or conspired with another gave false
information as to name, address or period of residency to establish eligibility to vote. For

this reason, count seven of the Indictment must be dismissed.

COUNT EIGHT

The charge in Count eight requires the Government prove either an official
proceeding or that an official proceeding be contemplated by Defendant. See United States
v. Aguilar, 515 U.S. 593, 115 8. Ct. 2357, 132 L. Ed. 2d 520 (1995) (A. charge of
obstructing or impeding the due administration of justice in a court cannot stand unless it
appears that the doer knew or had notice that justice was being administered in such court.
A person lacking knowledge of a pending proceeding necessarily lacked the evil intent to
obstruct.) In our case there is/was no evidence presented to the grand jury or for that
matter anywhere in the record to show there was an official proceeding the Defendant knew
or that Defendant contemplated an official proceeding by the Government.

For the above reasons count eight of the Indictment must be dismissed or stricken.

 
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WHEREFORE Defendant requests that Counts Three, Four, Five, Seven and
Eight of the Indictment be dismissed.

RESPECTFULLY SUBMITTED:

By: _/s/ Neah Gorson
NOATIGORSON, ESQUIRE
ATTORNEY FOR DEFENDANT

By: _/s/ Argold Silverstein
ARNOLD SILVERSTEIN, ESQuire
ATTORNEY FOR DEFENDANT

 
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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Motion was served
upon the following in the mamner indicated on today’s date of September 25, 2020.

ECF
Honorable Paul §. Diamond
US. Courthouse
601 Market Street, Room 14614
Philadelphia, PA 19106-1773

ECE
Department of Justice
United States Attorney=s Office
Eastern District of Pennsylvania
Assistant United States Attorney
Eric Gibson, Esq.
615 Chestnut Street, Suite 1250
Philadelphia, PA 19106-4476

By: _/s/ Neah Gorson
NOAH GORSON, ESQUIRE

 
